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 5   UNITED STATES OF AMERICA,                       Case No.: 3:11-cr-00471-BEN
 6                                      Plaintiff,
                                                     ORDER DENYING MOTION FOR
 7   v.                                              COMPASSIONATE RELEASE
 8   MAURICE LAROME SMITH,
                                                     [ECF No. 90]
 9                                    Defendant.
10
11         Movant Maurice Larome Smith filed a Motion for Compassionate Release
12   pursuant to 18 U.S.C. § 3582(c)(l)(A) ("Section 3582(c)(l)(A)"). ECF No. 90. The
13   United States opposed. ECF No. 92.
14         At this time, the Court recognizes there is no applicable policy statement governing
15   compassionate release motions filed by defendants under the recent amendments to
16   Section 3582(c)(l)(A). The Court also recognizes that a district court's discretion may be
17   informed by U.S.S.G. § lBl.13, but that it is not binding, and a district court may
18   consider any extraordinary and compelling reason for release that a defendant might
19   raise. See United States v. Aruda, _ F.3d_, 2021 WL 1307884 *4 (9th Cir. 2021).
20         In Movant's case, the reasons offered are not extraordinary and compelling.
21   Moreover, he is currently serving a 360-month sentence for violations of 18 U.S.C. §
22   1591, sex trafficking of children by force, fraud, and coercion, and 18 U.S.C. § 992, felon
23   in possession of a firearm. Accordingly, the Court finds Movant continues to pose a
24   significant danger to the community.                 therefore DENIED.
25         IT IS spRDERED.
26   Date~__J_, 2021
27                                                                           EZ

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